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                                                                                       United States District Court
                                                                                         Southern District of Texas

                                                                                            ENTERED
                             UNITED STATES DISTRICT COURT                                 January 27, 2020
                              SOUTHERN DISTRICT OF TEXAS                                 David J. Bradley, Clerk
                                  HOUSTON DIVISION

ALICE MARIE CHAVEZ,                              §
                                                 §
        Plaintiff,                               §
VS.                                              §   CIVIL ACTION NO. 4:19-CV-03373
                                                 §
BRANCH BANKING AND TRUST                         §
COMPANY,                                         §
                                                 §
        Defendant.                               §

                        ORDER OF DISMISSAL ON STIPULATION

       On this day the Court considered the unopposed stipulation of dismissal with prejudice

submitted by the plaintiff, Alice Marie Chavez (Dkt. No. 17) and finds that plaintiff’s request has

merit and should be GRANTED.

       It is, therefore, ORDERED, ADJUDGED and DECREED that all claims in the above-

entitled and numbered cause that were or could have been asserted by the plaintiff against

defendant be dismissed with prejudice, with costs of court being assessed against the party

incurring the same. All relief not expressly granted in this Order is hereby denied.

       It is so ORDERED.

       SIGNED on this 27th day of January, 2020.


                                                  ___________________________________
                                                  Kenneth M. Hoyt
                                                  United States District Judge




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